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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

Fort Worth Division

SHERLEY WOODS. et al.
Plaintiff

V. 4:19-cv-00696

Civil Action No.

CITY OF ARLINGTON, TX, et al.
Defendant

CERTIFICATE OF INTERESTED PERSONS
(This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,
Plaintiffs Sherley Woods and Terrence Harmon

provides the following information:

For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):

*Please separate names with a comma. Only text visible within box will print.
None.

A complete list of all persons, associations of persons, firms, partnerships, corporations,

guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:

*Please separate names with a comma. Only text visible within box will print.

Plaintiffs Sherley Woods and Terrence Harmon
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NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil/Other
Documents/Certificate of Interested Persons
